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15    COUNTY OF MERCED, KATHLEEN CROOKHAM,
      DEIDRE F. KELSEY, JOHN PEDROZO,
16    and HUBERT WALSH, JR.

17                                        UNITED STATES DISTRICT COURT
18                                       EASTERN DISTRICT OF CALIFORNIA
19   JACOB PAYNE                                               Case No. 1:22-CV-00157-BAM
20
              Plaintiff,                                       STIPULATION OF FACTS AND [PROPOSED]
21                                                             ORDER
     v.
22
     COUNTY OF MERCED, a public entity;
23   THOMAS PFEIFF, an individual; CINDY
24   MORSE, an individual; KATHLEEN
     CROOKHAM, an individual; DEIDRE F.
25   KELSEY, an individual; JOHN PEDROZO,
     an individual; and HUBERT WALSH JR., an
26   individual; and DOE DEFENDANTS 1
     through 10, inclusive,                                    Hon. Barbara A. McAuliffe
27

28            Defendants.
                                                                0
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     STIPULATION OF FACTS AND [PROPOSED ORDER]
31 Payne v. County of Merced, et al., U.S.D.C. Eastern District of California Case No. 1:22-CV-00157-BAM
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 1            IT IS HEREBY STIPULATED by and between Plaintiff JACOB PAYNE and Defendants

 2    COUNTY OF MERCED, KATHLEEN CROOKHAM, DEIDRE F. KELSEY, JOHN PEDROZO,

 3    HUBERT WALSH, THOMAS PFEIFF, and CINDY MORSE, by and through their designated counsel,

 4    that the following Facts are undisputed:

 5    1.      The    documents      produced      to   Defendants     Bates    Numbered       PAYNE000126    through

 6            PAYNE000136, which were written by Plaintiff Jacob Payne and which appear to be

 7            photocopies, were obtained by Plaintiff’s counsel from Nyla Payne’s living relatives.

 8    2.      The    documents      produced      to   Defendants     Bates    Numbered       PAYNE000126    through

 9            PAYNE000136 were not in the files of William Davis or Douglas Foster provided to counsel.

10    3.      There is no evidence that documents produced to Defendants by Plaintiff Bates Numbered

11            PAYNE000126 through PAYNE000136 were ever received by Mr. Davis, either as photocopies

12            or the original documents.

13    4.      The original of Exhibit 1, a copy of which is attached to this Stipulation, is a handwritten note

14            which appears to be written by Nyla Payne, now deceased. Neither party will object to the

15            admissibility of Exhibit 1 on the grounds that it is not genuine, lacks authenticity or lacks

16            foundation. The parties reserve their right to object to admissibility on any other grounds.

17    5.      The original of Exhibit 2, a copy of which is attached to this Stipulation, is a handwritten note

18            which appears to be written by Nyla Payne, now deceased. Neither party will object to the

19            admissibility of Exhibit 2 on the grounds that it is not genuine, lacks authenticity or lacks

20            foundation. The parties reserve their right to object to admissibility on any other grounds.

21    IT IS SO STIPULATED.

22    Dated: March 18, 2025                                  BERTRAND, FOX, ELLIOT, OSMAN & WENZEL

23
                                                             By: /s/ Ilana Kohn
24
                                                                 Michael C. Wenzel
25                                                               Ilana Kohn
                                                                    Attorneys for Defendant
26                                                                  COUNTY OF MERCED, KATHLEEN
                                                                    CROOKHAM, DEIDRE F. KELSEY, JOHN
27                                                                  PEDROZO, and HUBERT WALSH, JR.

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     STIPULATION OF FACTS AND [PROPOSED ORDER]
31 Payne v. County of Merced, et al., U.S.D.C. Eastern District of California Case No. 1:22-CV-00157-BAM
             Case 1:22-cv-00157-BAM              Document 110           Filed 03/24/25        Page 3 of 4


 1    Dated: March 18, 2025                                  LIVE OAK LAW OFFICE LLP

 2
                                                             By: /s/ Pilar Stillwater
 3
                                                                 Pilar Stillwater
 4                                                                  Attorneys for Plaintiff
                                                                    JACOB PAYNE
 5

 6    Dated: March 18, 2025                                  WHITNEY THOMPSON & JEFFCOACH
 7

 8                                                           By:       /s/ Devon McTeer
                                                                    Devon McTeer
 9                                                                  Attorney for Defendants
                                                                    THOMAS PFEIFF AND CINDY MORSE
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     STIPULATION OF FACTS AND [PROPOSED ORDER]
31 Payne v. County of Merced, et al., U.S.D.C. Eastern District of California Case No. 1:22-CV-00157-BAM
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 1                                                         ORDER

 2            Pursuant to the parties’ stipulation, the above facts will be regarded as undisputed. Additionally,

 3    pursuant to the parties’ stipulation, the parties will not object to the admissibility of the referenced

 4    Exhibit 1 (Doc. 109 at 4-5) or Exhibit 2 (Id. at 6-8) on the grounds that that they are not genuine, lack

 5    authenticity or lack foundation, though they reserve their right to object to admissibility of these exhibits

 6    on other grounds.

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 8    IT IS SO ORDERED.

 9        Dated:     March 24, 2025                                 /s/ Barbara A. McAuliffe               _
10                                                           UNITED STATES MAGISTRATE JUDGE

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     STIPULATION OF FACTS AND [PROPOSED ORDER]
31 Payne v. County of Merced, et al., U.S.D.C. Eastern District of California Case No. 1:22-CV-00157-BAM
